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            Michael Nacchio
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                                                                                 February 19, 2021

            Via ECF
            Honorable Lewis J. Liman
            United States District Judge
            Southern District of New York
            500 Pearl Street
            New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

            Dear Judge Liman:

                     This firm represents HC2, Inc. Plaintiff submits this letter in accordance with this Court’s
            Order dated January 29, 2021 instructing the parties to report by February 19, 2021 on the outcome
            of settlement discussions.

                   Plaintiff writes to respectfully report that Plaintiff was unable to proceed at the February 10,
            2021 mediation beyond introductory greetings in light of Plaintiff’s February 9, 2021 discovery of
            Defendant’s December 23, 2020 Chapter 7 bankruptcy petition. (See ECF No. 122). Under 11
            U.S.C. § 362, Plaintiff was unable to engage in any effort to compromise Plaintiff’s claims against
            Defendant at the February 10th mediation, or since then, as doing so would be litigation conduct in
            continuance of Plaintiff’s claims.

                     Plaintiff acknowledges Defendant’s request in his letter dated February 10, 2021, asking that
            this Court decide Defendant’s pending motion to dismiss for lack of subject matter jurisdiction.
            Plaintiff takes no position on that request in light of the automatic stay.

                   Additionally, the mediation office instructed the parties to submit a status update by February
            24, 2021. In light of the automatic stay, Plaintiff asks to be excused from further mediation at this
            time.




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          Case 1:20-cv-03178-LJL Document 125 Filed 02/19/21 Page 2 of 2
Honorable Lewis J. Liman
February 19, 2021

                                    Respectfully Submitted,

                                    OGLETREE, DEAKINS, NASH,
                                    SMOAK & STEWART, P.C.

                                    s/ Michael Nacchio

                                    Michael Nacchio

cc:   Robert Rotman, Esq.
      Valerie L. Weiss, Esq.


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